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UN|TED STATES DlSTRlCT COURT Fli.i?;£) sgt-g __
WESTERN DlSTRICT OF TENNESSEE
NlElVlPHlS D|V|SION 355 l`i,'§`i' i9

UN|TED STATES OF AN|ERICA

 

_V. 04-20077~01-Ma

THON|AS NELSON SEATON

Les|ie Ba||in, Retained

Defense Attorney

200 Jefferson Avenue, Suite 1250
Nlemphis,Tennessee 38103

 

JUDG|V|ENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 through 5 of the indictment on January 31, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Numberjsj
Conc|udec|
18 U.S.C. § 2251 (a) Sexual exploitation of Children 06/04/2003 1
18 U.S.C. § 2252(3)(4)(!3) Possession of child pornography 12/22/2003 2 & 3
18 U.S.C. § 2252(a)(1) Transportation of child pornography 11/18/2003 4
18 U.S.C. § 2252(b) Conspiracy to transport child pornography 11/18/2003 5

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Fteform Act of 1984 and the Nlandatory Victims Flestitution Act
of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district Within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 11/21/1944 Nlay 13, 2005
Deft’s U.S. l\/larshal No.: 19483-076

Defendant’s Residence Address:
6359 einham orive /1/\/2____`
Nlemphis, TN 38134 '
SA|V|UEL H. NlAYS, JR.
UN|TED STATES DISTRICT JUDGE

 

|Vla /S> 2005
This document entered on the docket sheet in oompllancey ’

Wem acre ss and/or az(b) rnch on "QE‘ 5

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Defendant Name: Thomas Nelson Seaton Page 2 of 5

|IV|PRlSONNlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred eighty (180) months on Counts 1, 4
and 5, and one hundred twenty (120) months on Counts 2 and 3, each to run
concurrently Total term of imprisonment is one hundred eighty (180) months.

The Court recommends to the Bureau of Prisons:
That defendant be designated to a facility where he can participate in a drug

treatment program, a sex offender treatment program, and a mental health treatment
program

The defendant shall surrender for service cf sentence at the institution designated by the
Bureau of Prisons as notified by the United States Nlarshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MAFtSHAL
By;

 

Deputy U.S. Nlarsha|

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of five (5) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shaft
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall Work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at anytime at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgmentl

ADDITIONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection of substance use or abuse. Fu rther,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate as directed in a program of mental health treatment,
including a sexual offendertreatment program, approved by the probation officer. You shall
abide by the rules, requirements, and conditions of the treatment program, including
submitting to polygraph testing, at your own expense, to aid in the treatment and supervision
process. The results of the polygraph examination may not be used as evidence in Court
to prove that a violation of community supervision has occurred but may be considered in
a hearing to modify release conditionsl Further, the defendant shall be required to
contribute to the costs of services for such treatment in an amount determined reasonable
by the probation officer.

3. Defendant’s employment and change of address must be approved by the Probation Officer.

4. Defendant’s place of residence may not be close in proximity to parks, playgrounds, public
pools, or other locations frequented by children

5. Defendant may not directly or indirectly have contact with any child under age 18; may not
reside with any child under 18; and may not loiter near school yards, playgrounds, swimming
pools, arcades, or other places frequented by children.

6. Defendant may not possess any pornography

7. Defendant may not use sexually oriented telephone numbers or services.

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8. Defendant must abide by an evening curfew as set by the probation officer.
9. Defendant shall not possess, or use, a computer With access to any “on line computer

service” at any location (including employment) without the prior approval of the probation
officer. This includes any lnternet Service provider, bulletin board system, or any other
public or private network or e-mail system.

10. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|NI|NAL lVlONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shaft
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Totai Fine Tota| Restitution
$500.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered.

   

UNITED TESAT DISTRIC COURT - WERNSTE D"CITRIT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
ease 2:04-CR-20077 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

